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          EXHIBIT 6
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From: Ken Kim
Sent: Friday, October 16, 2020 6:29 PM
To: Acacia Dietz; Barbara Bibas
Cc: ESQ Edward ReBrook; iDS_SlNKS−02678
Subject: RE: Sines v Kessler − Discovery

Hi Acacia:

Please see my responses in red below.

Regards,
Ken

Kenneth Kim
Consultant, Discovery Services
iDiscovery Solutions
Mobile: 267.847.4876




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From: Acacia Dietz <acacia.dietz@outlook.com>
Sent: Friday, October 16, 2020 6:25 PM
To: Ken Kim <kkim@idsinc.com>; Barbara Bibas <bbibas@idsinc.com>
Cc: ESQ Edward ReBrook <rebrooklaw@gmail.com>; iDS_SlNKS−02678 <ids_sinks−02678@idsinc.com>
Subject: RE: Sines v Kessler − Discovery

[EXTERNAL SENDER]
Ken −
Thank you − Just for verification, the “A0107 − A0133 (various emails recently collected − highlighted
above in green) − produced on or about 8/26/2020 as production volume NSM003” − this was produced
to the Plaintiff’s for their review on or about 8−26−2020 − is this correct? This is correct

As for the items that iDS is unable to proceed on, l am looking into it, however, as of today we do not
have any updated information to provide for those. Understood

ls there any update as to the forensic search of Mr. Colucci’s devices? We are still performing 2nd level
forensics investigation − we will provide you with report once completed.

Thank you

ACACIA DIETZ
Legal Assistant
THE REBROOK LAW OFFICE
Phone: 586.696.0385
Email: acacia.dietz@outlook.com




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immediately by telephone (586.696.0385) or by electronic mail (acacia.dietz@outlook.com) and delete this message and all copies and
backups thereof. Thank you.




From: Ken Kim
Sent: Friday, October 16, 2020 8:03 AM
To: Acacia Dietz; Barbara Bibas
Cc: ESQ Edward ReBrook; iDS_SlNKS−02678
Subject: RE: Sines v Kessler − Discovery

Hi Acacia:

Please find below excerpt for the NSM collections from the recent status report that was sent out this
week:


                                                                                                         Date
    iDS                          Requested                    Account User Name                                             Collection
              Defendant                                                                             Device/Account                               iDS
    EID                        Device/Account                     if Multiple                                                Status
                                                                                                    Made Available

              National
              Socialist                                                                                                    Collection
  A0054      Movement             Bitchute           nsm88media2@protonmail.com                        4ƒ30ƒ2019           Completed     Documents
              National         BlogTalkRadio                                                                               iDS Cannot    iDS Cannot P
              Socialist           Podcast                                                                                  Proceed       Further
   TBD       Movement              Service                        213−943−3765                          7ƒ7ƒ2020           Further       Credentials n
              National         BlogTalkRadio                                                                               iDS Cannot    iDS Cannot P
              Socialist           Podcast                                                                                  Proceed       Further − Pas
   TBD       Movement              Service                        516−453−6058                          7ƒ7ƒ2020           Further       incorrect
              National
              Socialist                                                                                                    Collection
  A0107      Movement                Email              nsm88atlanta@gmail.com                        10ƒ18ƒ2019           Completed     Documents
              National
              Socialist                                                                                                    Collection
  A0108      Movement                Email              nsm88bama@gmail.com                           10ƒ18ƒ2019           Completed     Documents
              National
              Socialist                                                                                                    Collection
  A0109      Movement                Email               nsm88cinci@gmail.com                         10ƒ18ƒ2019           Completed     Documents
              National
              Socialist                                                                                                    Collection
  A0110      Movement                Email             n sm88connecticut@gmail.com                    10ƒ18ƒ2019           Completed     Documents
              National
              Socialist                                                                                                    Collection
  A0111      Movement                Email              nsm88detroit@gmail.com                        10ƒ18ƒ2019           Completed     Documents
              National
              Socialist                                                                                                    Collection
  A0112      Movement                Email              nsm88kansas@gmail.com                         10ƒ18ƒ2019           Completed     Documents
              National
              Socialist                                                                                                    Collection
  A0113      Movement                Email             nsm88michigan@gmail.com                        10ƒ18ƒ2019           Completed     Documents
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           National
           Socialist                                                      Collection
  A0114   Movement     Email   nsm88monroe@gmail.com         10ƒ18ƒ2019   Completed    Documents
           National
           Socialist                                                      Collection
  A0115   Movement     Email    nsm88ny@gmail.com            10ƒ18ƒ2019   Completed    Documents
           National
           Socialist                                                      Collection
  A0116   Movement     Email    nsm88r5@gmail.com            10ƒ18ƒ2019   Completed    Documents
           National
           Socialist                                                      Collection   No documen
  A0117   Movement     Email   nsm88southflorida@gmail.com   10ƒ18ƒ2019   Completed    search term s
           National
           Socialist                                                      Collection   No documen
  A0118   Movement     Email    nsm88toledo@gmail.com        10ƒ18ƒ2019   Completed    search term s
           National
           Socialist                                                      Collection   No documen
  A0119   Movement     Email   nsmalabama88@gmail.com        10ƒ18ƒ2019   Completed    search term s
           National
           Socialist                                                      Collection   No documen
  A0120   Movement     Email    nsmarkansas@gmail.com        10ƒ18ƒ2019   Completed    search term s
           National
           Socialist                                                      Collection   No documen
  A0121   Movement     Email    nsmfresno@gmail.com          10ƒ18ƒ2019   Completed    search term s
           National
           Socialist                                                      Collection   No documen
  A0122   Movement     Email   nsmmaryland@gmail.com         10ƒ18ƒ2019   Completed    search term s
           National
           Socialist                                                      Collection
  A0123   Movement     Email    nsmmsst88@gmail.com          10ƒ18ƒ2019   Completed    Documents
           National
           Socialist                                                      Collection
  A0124   Movement     Email    nsmnc88@gmail.com            10ƒ18ƒ2019   Completed    Documents
           National
           Socialist                                                      Collection
  A0125   Movement     Email     nsmpor@gmail.com            10ƒ18ƒ2019   Completed    Documents
           National
           Socialist                                                      Collection
  A0126   Movement     Email    nsmregion4hq@gmail.com        7ƒ7ƒ2020    Completed    Documents
           National
           Socialist                                                      Collection
  A0127   Movement     Email   nsmvermont@gmail.com          10ƒ18ƒ2019   Completed    Documents
           National
           Socialist                                                      Collection
  A0128   Movement     Email   nsmwestvirginia@gmail.com     10ƒ18ƒ2019   Completed    Documents
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        National
        Socialist                                                        Collection
 A0129 Movement      Email      r3nsm88@gmail.com           10ƒ18ƒ2019   Completed    Documents
                                                                                      iDS Cannot P
         National                                                        iDS Cannot   Further
        Socialist                                                        Proceed
  TBD   Movement     Email       chiefofstaff@nsm88.org      7ƒ7ƒ2020    Further      Credentials n
                                                                                      iDS Cannot P
                                                                                      Further
         National                                                        iDS Cannot   Password no
        Socialist                                                        Proceed      Defendant s t
  TBD   Movement     Email       commander@nsm88.org         7ƒ7ƒ2020    Further      account is ln
         National                                                        iDS Cannot   iDS Cannot P
         Socialist                                                       Proceed      Further − Pas
  TBD   Movement     Email     c ommanderburt@nsm88.org      7ƒ7ƒ2020    Further      incorrect
         National                                                        iDS Cannot   iDS Cannot P
         Socialist                                                       Proceed      Further − Pas
  TBD   Movement     Email      Minnesota@gmail.com         10ƒ18ƒ2019   Further      incorrect
                                                                                      iDS Cannot P
                                                                                      Further
                                                                                      Password no
         National                                                        iDS Cannot   Defendant s t
         Socialist                                                       Proceed      account is
  TBD   Movement     Email         nsm88ky@gmail.com         7ƒ7ƒ2020    Further      lnactiveƒUnk
         National                                                        iDS Cannot   iDS Cannot P
         Socialist                                                       Proceed      Further − Pas
  TBD   Movement     Email      nsm88utah@gmail.com         10ƒ18ƒ2019   Further      incorrect
         National                                                        iDS Cannot   iDS Cannot P
         Socialist                                                       Proceed      Further − Pas
  TBD   Movement     Email      nsm88utah@gmail.com         10ƒ18ƒ2019   Further      incorrect
                                                                                      iDS Cannot P
                                                                                      Further − Pas
                                                                                      correct but 2
                                                                         Collection   bypassed. A
         National                                                        pending −    made on 08ƒ
        Socialist                                                        must         Defendant.
  TBD   Movement     Email     nsm88wyoming@gmail.com       10ƒ18ƒ2019   bypass 2FA   collect again
         National                                                        iDS Cannot   iDS Cannot P
         Socialist                                                       Proceed      Further − Pas
  TBD   Movement     Email      nsmambassador@gmail.com      7ƒ7ƒ2020    Further      incorrect
                                                                                      iDS Cannot P
                                                                                      Further
                                                                                      Password no
         National                                                        iDS Cannot   Defendant s t
        Socialist                                                        Proceed      account is
  TBD   Movement     Email      nsmchiefofstagg@gmail.com    7ƒ7ƒ2020    Further      lnactiveƒUnk
Case 3:17-cv-00072-NKM-JCH Document 899-6 Filed 10/29/20 Page 6 of 9 Pageid#:
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                                                                                           iDS Cannot P
         National                                                             iDS Cannot   Further − Go
        Socialist                                                             Proceed      recognize th
  TBD   Movement        Email        nsmcolumbus.oh@gmail.com    10ƒ18ƒ2019   Further      address.
         National                                                             iDS Cannot   iDS Cannot P
         Socialist                                                            Proceed      Further − Pas
  TBD   Movement        Email         nsmflorida@gmail.com       10ƒ18ƒ2019   Further      incorrect
                                                                                           iDS Cannot P
         National                                                             iDS Cannot   Further − Go
        Socialist                                                             Proceed      recognize th
  TBD   Movement        Email        nsmorlando88@gmail.com      10ƒ18ƒ2019   Further      address.
                                                                                           iDS Cannot P
                                                                                           Further
                                                                                           Password no
         National                                                             iDS Cannot   Defendant s t
         Socialist                                                            Proceed      account is
  TBD   Movement        Email          nsmregion11@gmail.com      7ƒ7ƒ2020    Further      lnactiveƒUnk
         National                                                             iDS Cannot   iDS Cannot P
         Socialist                                                            Proceed      Further − Pas
  TBD   Movement        Email        nsmregion9hq@gmail.com      10ƒ18ƒ2019   Further      incorrect
         National                                                             iDS Cannot   iDS Cannot P
         Socialist                                                            Proceed      Further − Pas
  TBD   Movement        Email          nsmssdivision@gmail.com    7ƒ7ƒ2020    Further      incorrect
                                                                                           iDS Cannot P
                                                                                           Further
         National                                                             iDS Cannot   Credentials n
        Socialist                                                             Proceed      Defendant s t
  TBD   Movement       Facebook                                   7ƒ7ƒ2020    Further      account is ln
                                                                                           iDS Cannot P
                                                                                           Further − hot
        National                                                              iDS Cannot   something t
       Socialist        Hotline                                               Proceed      collected by
  TBD Movement          Service             651−659−6307          7ƒ7ƒ2020    Further      consultant
        National
        Socialist                               Colucci                       Collection
 A0105 Movement         Laptop          Aspire 3 Model N17Q2      7ƒ7ƒ2020    Completed    Documents
        National                                                                           No reviewab
        Socialist                              Colucci                        Collection   available fro
 A0104 Movement      Mobile Device        iPhone 11 Pro Max       7ƒ7ƒ2020    Completed    data.
                                                                                           iDS Cannot P
                                                                                           Further
                                                                                           Custodian st
         National                                                             iDS Cannot   was returne
        Socialist                              Colucci                        Proceed      prior to the f
  TBD   Movement     Mobile Device         iPhone XS Max          7ƒ7ƒ2020    Further      Court Order
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         National                                                         iDS Cannot  iDS Cannot P
         Socialist    Newsletter                                          Proceed     Further − Pas
  TBD   Movement       Service             Benchmark           7ƒ7ƒ2020   Further     work
                                                                                      iDS Cannot P
                                                                                      Further
         National                                                         iDS Cannot Credentials n
         Socialist    Newsletter                                          Proceed     Defendant st
  TBD   Movement       Service          Constant Contact       7ƒ7ƒ2020   Further     account is ln
                                                                                      iDS Cannot P
                                                                                      Further
         National                                                         iDS Cannot  Password no
        Socialist                                                         Proceed     Defendant st
  TBD   Movement       Twitter               NSM88             7ƒ7ƒ2020   Further     never had ac
                                                                                      iDS Cannot P
                                                                                      Further
                                                                                      Credentials n
                                                                                      Custodian pr
                                                                                      iDS should al
                                                                                      access Twitt
                                                                                      signing in usi
                                                                                      device. iDS w
                                                                                      in but based
                                                                                      accesed on t
                                                                                      device the T
                                                                                      appears to b
         National                                                         iDS Cannot  not been co
        Socialist                                                         Proceed     up. Hence, t
  TBD   Movement       Twitter            @ColucciBurt         7ƒ7ƒ2020   Further     for iDS to col
                                                                                      iDS Cannot P
                                                                                      Further
         National                                                         iDS Cannot Password no
         Socialist    VKontakte                                           Proceed     Defendant st
  TBD   Movement        (VK)               300604375           7ƒ7ƒ2020   Further     account is ln
                                                                                      iDS Cannot P
                                                                                      Further
         National                                                         iDS Cannot Password no
         Socialist    VKontakte                                           Proceed     Defendant st
  TBD   Movement        (VK)               Burt Colucci        7ƒ7ƒ2020   Further     account is ln
                                                                          Publicly    Documents
                                                                          available   iDS ElDA007
                                                                          information Defendant J.
         National                                                         was         Defendant B
         Socialist                                                        captured    he never had
  TBD   Movement       Website           www.nsm88.org         7ƒ7ƒ2020   previously. website.
         National    Yahoo Groups                                         iDS Cannot   iDS Cannot P
        Socialist     Newsletter                                          Proceed      Further
  TBD   Movement        Service     nsmworld@yahoogroups.com   7ƒ7ƒ2020   Further      Password no
Case 3:17-cv-00072-NKM-JCH Document 899-6 Filed 10/29/20 Page 8 of 9 Pageid#:
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                                                                                                            Defendant st
                                                                                                            account is ln

                                                                                                            iDS Cannot P
                                                                                                            Further
             National                                                                          iDS Cannot   Password no
             Socialist                                                                         Proceed      Defendant st
   TBD      Movement             YouTube                        NSM Media          7ƒ7ƒ2020    Further      never had ac


You are correct in stating that everything that has been collected by iDS was subsequently produced and
released to Plaintiffs as follows:

A0054 (Bitchute) − produced on or about 4/22/2020 as production volume NSM001
A0105 (Colucci Aspire 3 Model N17Q2) − produced on or about 7/14/2020 as production volume
NSM002
A0107 − A0133 (various emails recently collected − highlighted above in green) − produced on or about
8/26/2020 as production volume NSM003

However, as you can see from the above status report excerpt, there are many social media and email
accounts that iDS has not able to access for the various reasons provided.

Let us know if you have any questions.

Regards,
Ken

Kenneth Kim
Consultant, Discovery Services
iDiscovery Solutions
Mobile: 267.847.4876




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From: Acacia Dietz <acacia.dietz@outlook.com>
Sent: Friday, October 16, 2020 2:08 AM
To: Ken Kim <kkim@idsinc.com>; Barbara Bibas <bbibas@idsinc.com>
Cc: ESQ Edward ReBrook <rebrooklaw@gmail.com>
Subject: Sines v Kessler − Discovery

[EXTERNAL SENDER]
Ken & Barbara −

The Plaintiffs have stated in a new motion to the court that they are “unable to access the social media
and email accounts that NSM has disclosed” −
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                                 15473




To my knowledge, everything that has been collected by iDS is available to the Plaintiffs for their review,
correct? lf so, can you please give me the date that these were made available to the Plaintiffs for their
review?

Thank you,

ACACIA DIETZ
Legal Assistant
THE REBROOK LAW OFFICE
Phone: 586.696.0385
Email: acacia.dietz@outlook.com




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